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 4   jdrous@msn.com
 5   Attorney for Defendant
     RALPH PETERS
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                            No. CR 05-00465 JSW
11                  Plaintiff,                            STIPULATION AND ORDER RE:
     vs.                                                  MODIFICATION OF PRE-TRIAL
12                                                        RELEASE
     RALPH PETERS,
13
                 Defendant.
14   ______________________________/
15          IT IS HEREBY STIPULATED by the parties in the above-entitled action that defendant
16   RALPH FRANK PETERS’ release from Cornell Corrections, 111 Taylor facility, be extended to the
17   January 19, 2006, the date of his next court appearance, to allow him to remain in southern
18   California, at the home of his sister, Josephine Boyd, at 833 W. Padilla, #B, San Gabriel Valley,
19   California (626-293-8048). Alan Lew, Mr. Peters’ pre-trial services worker has no objection to this
20   request.
21
22   Dated: January 10, 2006                                            /s/
                                                           JULIANA DROUS
23                                                         Attorney for Defendant
                                                           RALPH PETERS
24
25   Dated: January 10, 2006                                             /s/
                                                           MONICA FERNANDEZ
26                                                         Assistant U.S. Attorney
27
     STIPULATION AND ORDER RE:
28   CONDITIONS OF PRE-TRIAL RELEASE
     Case 3:05-cr-00465-JSW            Document 123    Filed 01/12/06       Page 2 of 2

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 1            IT IS SO ORDERED.                             TA




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                1/11/06
 3   Dated:




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                                                  HONORABLE JAMES LARSON
 4                                                U.S. District Court Magistrate Judge
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     STIPULATION AND ORDER RE:
28   CONDITIONS OF PRE-TRIAL RELEASE
